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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )   Case No. 19-34054 (SGJ)
                                                                  )
                              Debtor.                             )
                                                                  )
                                                                  )
    HIGHLAND CAPITAL MANAGEMENT, L.P.                             )
                                                                  )
                              Plaintiff,                          )   Adv. Pro. No. 20-03107 (SGJ)
    vs.                                                           )
                                                                  )
    PATRICK HAGAMAN DAUGHERTY                                     )
                                                                  )
                              Defendant.                          )
                                                                  )


                                    CERTIFICATE OF SERVICE

       I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned
case.

        On April 20, 2020, at my direction and under my supervision, employees of KCC caused
the following documents to be served via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •      Notice of Appearance and Request for Service by Sidley Austin LLP on Behalf of
             the Official Committee of Unsecured Creditors [Docket No. 12]



                                           (Continued on Next Page)




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters
and service address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX
75201.
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   •   Notice of Appearance and Request for Service by Juliana L. Hoffman on Behalf of
       the Official Committee of Unsecured Creditors [Docket No. 13]


Dated: April 23, 2020
                                            /s/ Esmeralda Aguayo
                                            Esmeralda Aguayo
                                            KCC
                                            222 N Pacific Coast Highway, Suite 300
                                            El Segundo, CA 90245




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                             EXHIBIT A
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                                                                 Exhibit A
                                                           Adversary Service List
                                                          Served via Electronic Mail


             Description                  CreditorName              CreditorNoticeName                        Email
  Counsel for Patrick Daugherty (“Mr.
  Daugherty”)                         Cross & Simon LLC        Michael L. Vild, Esquire      mvild@crosslaw.com
  Financial Advisor to Official                                Earnestiena Cheng, Daniel H   Earnestiena.Cheng@fticonsulting.com;
  Committee of Unsecured Creditors FTI Consulting              O'Brien                       Daniel.H.O'Brien@fticonsulting.com
                                      Hayward & Associates     Melissa S. Hayward, Zachery   MHayward@HaywardFirm.com;
  Counsel for the Debtor              PLLC                     Z. Annable                    ZAnnable@HaywardFirm.com
  Counsel for UBS Securities LLC                               Andrew Clubok, Sarah          andrew.clubok@lw.com;
  and UBS AG London Branch            Latham & Watkins LLP     Tomkowiak                     sarah.tomkowiak@lw.com
  Counsel for UBS Securities LLC                               Asif Attarwala, Kathryn K.    asif.attarwala@lw.com;
  and UBS AG London Branch            Latham & Watkins LLP     George                        Kathryn.George@lw.com
  Counsel for UBS Securities LLC                               Jeffrey E. Bjork, Kimberly A. jeff.bjork@lw.com;
  and UBS AG London Branch            Latham & Watkins LLP     Posin                         kim.posin@lw.com
  Counsel for UBS Securities LLC                                                             Zachary.Proulx@lw.com;
  and UBS AG London Branch            Latham & Watkins LLP     Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
                                                                                             mclemente@sidley.com;
                                                               Matthew Clemente, Alyssa      alyssa.russell@sidley.com;
  Counsel for Official Committee of                            Russell, Elliot A. Bromagen,  ebromagen@sidley.com;
  Unsecured Creditors                 Sidley Austin LLP        Dennis M. Twomey              dtwomey@sidley.com
                                                                                             preid@sidley.com;
                                                               Penny P. Reid, Paige Holden pmontgomery@sidley.com;
  Counsel for Official Committee of                            Montgomery, Juliana Hoffman, jhoffman@sidley.com;
  Unsecured Creditors                 Sidley Austin LLP        Chandler M. Rognes            crognes@sidley.com
  Counsel for Patrick Daugherty       Spencer Fane LLP         Jason P. Kathman              jkathman@spencerfane.com




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                             EXHIBIT B
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                                                                        Exhibit B
                                                                  Adversary Service List
                                                                Served via First Class Mail

                Description                  CreditorName          CreditorNoticeName                 Address1               City     State      Zip
   Counsel for Patrick Daugherty (“Mr.                                                        1105 N. Market Street,
   Daugherty”)                           Cross & Simon LLC       Michael L. Vild, Esquire     Suite 901                  Wilmington   DE      19801
   Counsel for UBS Securities LLC and                            Andrew Clubok, Sarah         555 Eleventh Street, NW,
   UBS AG London Branch                  Latham & Watkins LLP    Tomkowiak                    Suite 1000                 Washington DC        20004
   Counsel for UBS Securities LLC and                            Asif Attarwala, Kathryn K.   330 North Wabash
   UBS AG London Branch                  Latham & Watkins LLP    George                       Avenue, Ste. 2800          Chicago      IL      60611
   Counsel for UBS Securities LLC and                            Jeffrey E. Bjork, Kimberly   355 S. Grand Ave., Ste.
   UBS AG London Branch                  Latham & Watkins LLP    A. Posin                     100                        Los Angeles CA       90071
   Counsel for UBS Securities LLC and                            Zachary F. Proulx, Jamie
   UBS AG London Branch                  Latham & Watkins LLP    Wine                         885 Third Ave.             New York     NY      10022-4834
                                                                                              5700 Granite Parkway,
   Counsel for Patrick Daugherty         Spencer Fane LLP        Jason P. Kathman             Suite 650                  Plano        TX      75024




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